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                         IN THE UNITED STATES DISTRICT COURT 
                          FOR THE DISTRICT OF PUERTO RICO 
                                                                                  Set: 2:30 PM 
                                                                             Started:   2:34 PM 
                                                                               Ended: 4:21 PM 
AMENDED MINUTES OF PROCEEDINGS 
BEFORE HONORABLE LAURA TAYLOR SWAIN                                  June 5, 2017 
COURTROOM DEPUTY: Carmen Tacoronte                                            
COURT REPORTER: Rebecca Forman  (SDNY)           
              
                                                                  
In re: 
The Financial Oversight and Management 
Board for Puerto Rico 
 
                                                        3:17‐BK‐3283 (LTS) 
               as representative of 
                                                                  
 
The Commonwealth of Puerto Rico 
 
Debtor 
                                                                  
                                            
In re:  
The Financial Oversight and Management 
Board for Puerto Rico 
 
                                                        3:17‐BK‐3567 (LTS) 
               as representative of 
 
Puerto Rico Highways and Transportation 
Authority 
 
                                            
Debtor 
                                            
                                                                   
                                                          17‐AP‐151 (LTS) 
Peaje Investment, LLC 
                                                        in 17‐BK‐3567 (LTS) 
                                                                   
Plaintiff                                                          
                                            
v. 
 
Puerto Rico Highways and Transportation     

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Case Nos. 17‐BK‐3283 (LTS) 
                  17‐BK‐3567 (LTS)     
                  17‐AP‐151 (LTS) 
                  17‐AP‐152 (LTS)                                                           June 5, 2017 
 
Authority, et al. 
                                                          
Defendants                                                
                                                          
                                                          
                                                                       17‐AP‐152 (LTS) 
Peaje Investment, LLC 
                                                                     in 17‐BK‐3283 (LTS) 
                                                                                
Plaintiff                                                                       
                                                          
v. 
 
Puerto Rico Highways and Transportation                   
Authority, et al. 
                                                          
Defendants                                                
 
          Motion  Hearing  held  re:  Application  for  Temporary  Restraining  Order  and  for  Relief 
from Stay filed by Peaje Investment, LLC. (DE 2 in Case No. 17‐AP‐151 (LTS), DE 2 in Case No. 
17‐AP‐152 (LTS) and DE 25 17‐BK‐3567 (LTS)) and Urgent Motion (DE 3 in Case Nos. 17‐AP‐151 
(LTS) and 17‐AP‐152 (LTS)). 
          Attorneys present at the NY courthouse: 
                   G. Eric Brunstad, Jr., Allan S. Brilliant and Andrew C. Harmeyeron behalf of Peaje 
                    Investment, LLC.  
                   Martin  Bienenstock,  Stephen  L.  Ratner,  Timothy  W.  Mungovan  and  Paul  V. 
                    Possinger  on  behalf  of  the  Financial  Oversight  and  Management  Board  for 
                    Puerto  Rico  as  representative  of  Puerto  Rico  Highways  and  Transportation 
                    Authority (the “HTA”). 
                   Peter Friedman, Elizabeth L. McKeen and Suzzanne Uhland on behalf of Puerto 
                    Rico Fiscal Agency and Financial Advisory Authority (“AAFAF”). 
          Attorney  Brunstad  was  heard  in  favor  of  the  Urgent  Motion  and  the  Application  for 
Temporary Restraining Order and for Relief from Stay.  Peaje Investment LLC also requested to 
be allowed to depose HTA’s expert before the Evidentiary Hearing.   

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Case Nos. 17‐BK‐3283 (LTS) 
                  17‐BK‐3567 (LTS)     
                  17‐AP‐151 (LTS) 
                  17‐AP‐152 (LTS)                                                               June 5, 2017 
 
          Attorneys  Bienenstock  and  Friedman  were  heard  in  opposition  to  the  Urgent  Motion 
and  the  Application  for  Temporary  Restraining  Order  and  for  Relief  from  Stay.  Attorney 
Bienenstock informs the Court that HTA does not have an expert on the particular point raised 
by Peaje Investment LLC, but will prepare the necessary information. 
          The  parties  discussed  scheduling  of  the  evidentiary  hearing  on  the  request  for  the 
preliminary injunction, or alternatively relief from the automatic stay or adequate protection.  
Peaje Investment LLC withdrew its request seeking a temporary restraining order and a hearing 
thereon,  subject  to  the  scheduling  of  a  prompt  evidentiary  hearing  on  Plaintiff’s  preliminary 
injunction  and  stay  relief  requests.    Peaje  Investment  LLC  agreed  to  waive  its  right  to  seek 
termination of the automatic stay pursuant to Section 362(e) of the Bankruptcy Code pending 
the Court’s adjudication of the application for preliminary injunction and stay relief requests. 
          Further argument by Attorney Brunstad was heard.  
          An Evidentiary Hearing is set for August 8, 2017 at 9:30 AM in San Juan, Puerto Rico. 
Parties shall submit a proposed briefing and discovery schedule in seven (7) days. 
          As  requested  by  Attorney  Bienenstock,  and  with  no  opposition  from  the  plaintiff,  the 
defendants’ deadline to answer the verified complaint is extended to thirty (30) days after the 
determination of the preliminary injunction motion.  
          Attorney  Brunstad  suggests  that  direct  testimony  be  by  affidavit.  The  Court  generally 
expects the affidavits be filed along with the briefs. 
          An  exhibit  list  with  marked  exhibits  shall  be  provided  within  one  (1)  week  before  the 
hearing. Parties are instructed to produce two (2) sets of hard copies at the Clerk’s Office in San 
Juan and two (2) additional sets of copies to Judge Swain’s chambers in New York.  
           
                                                                            s/Carmen Tacoronte 
                                                                            Carmen Tacoronte 
                                                                            Courtroom Deputy Clerk 
           




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